

ORDER

PER CURIAM:
AND NOW, this 22nd day of October, 2001, there having been filed with this Court by Ronald E. Archer his verified Statement of Resignation dated August 28, 2001, stating that he desires to resign from *111the Bar of the Commonwealth of Pennsylvania in accordance with the provisions of Rule 215, Pa.R.D.E., it is
ORDERED that the resignation of Ronald E. Archer be and it is hereby accepted and he is DISBARRED ON CONSENT from the Bar of the Commonwealth of Pennsylvania; and it is further ORDERED that he shall comply with the provisions of Rule 217, Pa.R.D.E. Respondent shall pay costs, if any, to the Disciplinary Board pursuant to Rule 208(g), Pa.R.D.E.
